         Case 1:18-cv-11963-PBS Document 114 Filed 04/24/19 Page 1 of 5



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 STERLING SUFFOLK RACECOURSE, LLC,

                              Plaintiff,

 v.                                                     CIVIL ACTION
                                                        Case No. 1:18-cv-11963-PBS
 WYNN RESORTS, LTD; WYNN MA, LLC;                       (Leave to file granted 4.23.19)
 STEPHEN WYNN; KIMMARIE SINATRA;
 MATTHEW MADDOX; PAUL LOHNES; and
 FBT EVERETT REALTY, LLC;

                              Defendants.


                    MATTHEW MADDOX’S REPLY MEMORANDUM
                      IN SUPPORT OF HIS MOTION TO DISMISS

       Sterling Suffolk Racecourse’s (“SSR’s”) Opposition to Defendants’ Motions to Dismiss

offers up two arguments, addressed briefly below, in an unsuccessful effort to deflect from

its First Amended Complaint’s (“FAC’s”) fatal failure to sufficiently plead facts in support of its

sweeping allegation that Matthew Maddox is personally responsible for any acts of racketeering.

       First, the Opposition wishfully claims that Mr. Maddox’s Motion to Dismiss somehow

ignored the allegations that he testified before the MGC that he did not know Lightbody when he

allegedly had full knowledge of Lightbody’s involvement in FBT. Doc. 98 at 64. As made clear

at pages 11 and 12 of Mr. Maddox’s Memorandum in Support of his Motion to Dismiss,

however, Mr. Maddox has fully acknowledged, solely for the purposes of his motion, SSR’s

(false) accusation that he made misrepresentations about Lightbody in testimony to the MGC.

More importantly, he goes on to demonstrate that these alleged misrepresentations could not

form the basis for actionable fraud—or any act of racketeering—because, at the time of the

alleged misrepresentations, the MGC already knew of Lightbody’s involvement in FBT. FAC ¶

                                                 1
         Case 1:18-cv-11963-PBS Document 114 Filed 04/24/19 Page 2 of 5



110 (“[I]n July 2013, the Wynn Defendants were known to the Gaming Commission to have

associated with known felons and to have failed to disclose those affiliations.”). Further, by the

time the MGC would have relied on the alleged misrepresentations to find Wynn MA, LLC

(“Wynn MA”) and Wynn Resorts, LTD (“Wynn Resorts”) “suitable”—in December 2013—the

MGC knew that Wynn MA and Wynn Resorts, including Mr. Maddox, had allegedly failed to

disclose Lightbody’s involvement. FAC ¶ 112 (“on November 21, 2013 . . . the Boston Globe

broke the story of Lightbody’s previously-concealed interest in the Everett site”). Because RICO

requires that the racketeering activity cause the plaintiff’s harm, Hemi Group, LLC v. City of

New York, 559 U.S. 1, 13 (2010), and because the MGC knew of Lightbody’s involvement in

FBT before finding Wynn MA and Wynn Resorts suitable, Mr. Maddox’s alleged

misrepresentation could not have possibly caused the MGC to declare that Wynn MA and Wynn

Resorts were suitable. Thus, Mr. Maddox’s alleged misrepresentation does not give rise to an

actionable RICO claim.

       Second, the Opposition maintains that Mr. Maddox is responsible for acts attributed to

“the Wynn Defendants” because of his senior positions within Wynn MA and Wynn Resorts.

Doc. 98 at 66 (mentioning “Maddox’s . . . role as a very senior officer (at one point president) of

Wynn MA as well as Wynn Resorts”). This argument fails, first, because the FAC alleges that

Mr. Wynn, FAC ¶ 19, and Ms. Sinatra, FAC ¶ 21, and not Mr. Maddox, were directing those

entities during the events of alleged fraud. Second, SSR affirmatively relies on the 2019

Investigations and Enforcement Bureau (IEB) report (which SSR itself attached to the

Opposition, Doc. 98 at 20, n.2); which states, “the individuals identified in this investigation as

bearing the most responsibility for the corporate failures have been replaced.” Investigative

Report Regarding Ongoing Suitability of Wynn MA, LLC, dated March 15, 2019 (“2019



                                                  2
             Case 1:18-cv-11963-PBS Document 114 Filed 04/24/19 Page 3 of 5



Suitability Report”) at 210.1/ Setting aside that SSR’s amended complaint cannot be salvaged by

SSR referring to third-party reports, the IEB confirmed that Mr. Maddox, who is still with the

company, was not one of the individuals “bearing the most responsibility for the corporate

failures.” Id.

           But even if the FAC had alleged that Mr. Maddox was running Wynn Resorts or Wynn

MA when they made the alleged fraudulent misrepresentations, that allegation—without more—

is insufficient to hold Mr. Maddox individually responsible for committing any alleged fraud in

his personal capacity. On well-settled law, see e.g., Rick v. Profit Mgmt. Assocs., 241 F. Supp.

3d 215, 224 (D.Mass. 2017), to satisfy Rule 9(b), the complaint must “delineate the role of each

defendant in connection with the fraudulent misrepresentations.” Further, “merely identifying a

defendant as an ‘officer’ does not adequately allege his involvement in the torts of the

corporation.” Rhone v. Energy North, Inc., 790 F. Supp. 353, 362 (D.Mass. 1991). Because the

FAC’s remaining allegations against Mr. Maddox seek to tie him to the alleged acts only by

virtue of his position within the broad corporate hierarchies of Wynn Resorts and Wynn MA, the

allegations fail to meet the requirements under Rule 9(b).




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     This pagination is that used by ECF. See Doc. 98-2.

                                                           3
        Case 1:18-cv-11963-PBS Document 114 Filed 04/24/19 Page 4 of 5



       For these reasons and those set out in his original Memorandum in Support, defendant

Matthew Maddox respectfully requests that the Court grant his Motion to Dismiss.

Dated: April 24, 2019                             Respectfully Submitted,

                                                  MATTHEW MADDOX

                                                  By his counsel,

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                                              4
         Case 1:18-cv-11963-PBS Document 114 Filed 04/24/19 Page 5 of 5



                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants and by mail as identified on the Notice of Electronic
Filing on April 24, 2019.

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